UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF LOUISIANA

DEEP SOUTH TODAY, d/b/a VERITE
NEWS, GANNETT CO., INC., GRAY
LOCAL MEDIA, INC., NEXSTAR
MEDIA, INC., SCRIPPS MEDIA INC.,
and TEGNA INC.,

Plaintiffs,
Vv.

LIZ MURRILL, in her official capacity
as Attorney General of Louisiana,
ROBERT P. HODGES, in his official
capacity as Superintendent of the
Louisiana State Police, and HILLAR C.
MOORE, Ill, in his official capacity as
District Attorney of East Baton Rouge
Parish,

Defendants.

CASE NO. 3:24-cv-00623

DECLARATION OF CURTIS SPRANG

I, Curtis Sprang, declare as follows:

1. Iam over the age of 18. I make this declaration in support of

Plaintiffs’ Motion for Preliminary Injunction in the above-captioned matter. I have

personal knowledge of the matters stated herein.

2; I am a News Anchor at WGNO in New Orleans, a broadcast

television station owned by Nexstar, Inc. I have worked at WGNO for 28 years.
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Before becoming a News Anchor at WGNO, I was a general assignment reporter
and a weekend anchor.

3.  IThave often come into close contact with law enforcement officers
while doing my job, most often at crime scenes or parades and other big events in
New Orleans.

4. When reporting on law enforcement, I try to get as close as I can
without causing problems so that I can pick up good-quality audio of what the
officer is saying. I want to be able to hear the officer announcing himself, reading
someone their rights, and asking someone questions, since that might be important
information for the public later. The optimal distance depends heavily on what I
am trying to record—I don’t need to be five feet away to record fireworks, but if a
police officer is saying something to someone on a scene, I need to be within a
conversational distance. The same goes for getting an unobstructed view.

5. There are stories that I know I would not have been able to report on
if I had not been within twenty-five feet of a law enforcement officer.

6. For example, I recently covered the aftermath of a police chase that
ended with a police car from the Kenner Police Department in a bayou. When I
arrived at the scene that evening, the car was already in the water; officers from
Louisiana State Police and the New Orleans Police Department were also present.

| identified myself to the officers at the scene and approached to ask what had
happened. Since there was no perimeter or tape set up, I was within a few feet of
the officers.

7. I started recording and taking pictures with my phone, which I
frequently use while doing my job. Because it was dark and my phone cannot
zoom very effectively, I had to get close to the car to get usable images—within
fifteen feet or so. We ran a story about this incident, and my photographs were
published with it. See Curt Sprang, Kenner Police Chase Ends With Police Car in

Bayou St. John, WGNO (July 3, 2024), https://bit.ly/3Sbo2sH.

8. Ata distance of twenty-five feet, I would not have been able to speak
to the responding officers or capture photos of the chase’s aftermath.

9. Shootings are another context where I commonly have contact with
officers. For instance in one recent incident, I went to the scene of an officer-
involved shooting outside a home in Mandeville, on the north shore of Lake
Pontchartrain.

10. I got there several hours after the shooting, around midnight, to take
some photos and record video with my phone from the sidewalk. When I got
there, a Mandeville Police officer told me that there was an area where they wanted
me to stand, located on a street corner about fifty feet away from where I was. I
understood him to be asking me to go to a designated media staging area, even

though no other media were present at that hour.
11. When I responded that there was no tape up and that I was on the
public sidewalk, the officer backed off his request that I go to the designated area.

12. Many of the officers at the scene were at times just a few feet away
from me, and it was already difficult at that distance in the dark to get video that
we could use. If I had been confined to the media staging area even farther away,
it would have been impossible to capture the images we ultimately ran. See Curt
Sprang, 2 Dead in Mandeville Following Welfare Check/Police Shooting, WGNO

(July 6, 2024), https://bit.ly/3SnczGz.

13. In addition to crime scenes, I find myself in close contact with law
enforcement when covering parades and other big events in New Orleans.

14. In New Orleans, people sometimes get shot and killed on parade
routes. Things get very chaotic very quickly when that happens, but I am very
experienced at this point at covering what is happening around me while staying
out of the way of law enforcement officers who are doing their jobs. It would
rarely be possible, though, to see what is going on in those situations while staying
at least twenty-five feet away from all of the officers on the parade route.

15. If HB 173 is allowed to go into effect, I expect to face more situations

where an officer asks me to move to a place that obstructs my view— but now

with the threat of arrest.
16. | There’s an expression I have heard often in Louisiana: “You might
beat the charge, but you won’t beat the ride.” Even if criminal charges wouldn’t
stand up, or if I can’t tell if a request is an order or not, I risk enduring the process
of being handcuffed, transported in the back of a police car, and waiting in jail for
hours. I do not want to be in that situation just for doing my job, so I would
comply with an officer’s request to move even though I am not interfering with or
obstructing officers, even if it means that I cannot gather the news.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on September ioe 2024 in New Orleans, ODN, ass

—_ |

Curtis Sprang

Prepared by:

Katie Townsend
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